Case 18-08411-JMC-7A Doc1 Filed 11/02/18 EOD 11/02/18 16:06:50 Pg1of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

Southern District of Indiana

Case number ufknown): Ss Chapter you are filing under:
Ghapter 7
C Chapter 11
LJ Chapter 12 oo
OI Chapter 13 LJ Check if this is an

amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 42417

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor f in all of the torre.

Be as complete and accurate as possible. If fwo married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

Identify Yourself

4. Your full name

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case}:

Write the name that is on your :
government-issued picture Misty

 

 

 

 

 

 

 

 

 

identification (for example, First name First name
your driver’s license or Nicole
passport). Middle name Middle name
Bring your picture Wilburn
identification to your meeting Last name Last name
with the trustee.
Suffix (Sr., Jr, B, 15 Suffix (Sr, Jr, H, TH}
2. All other names you
have used in the last & First name First name
years
Include your married or Middle name Middle name
maiden names.
Lasi name Last name
First name First name
Middle name Middte name
Last name Last name
3. Only the last 4 digits of
i : -x-_2 5 WX = XK
your Social Security XX m-_ 2.2 4° 5 — — —- —
number or federal OR OR
individual Taxpayer
identification number 9xx - mK HL Sxx = xx -_
(I TEN)

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Debtor 4 Misty Nicole Wilburn
Fist Name Riddle Narhe Last Nabe
About Debtor 1:

4. Any business names
and Employer
Identification Numbers
(EIN} you have used in
the last 8 years

include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

Wi | have not used any business names or EINs.

Case number éf known).

About Debtor 2 (Spouse Only in a Joint Case}:

LJ | have net used any business names or EINs.

 

Business name

Business name

 

Business name

EIN

EIN

2180 W. Yorkshire Court, Apt. 717

 

Number Street

Business name

EiN

EN

lf Debtor 2 lives at a different address:

 

Number Street

 

 

 

 

Indianapolis IN 46229

City State = ZIP Code City Siate ZIP Cade
Marion

County County

lf your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

 

P.O. Box

 

City State ZIP Code

Check one:

W1 Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

Q) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Number Street

 

P.O. Box

 

City State ZIP Code

Check ane:

(J Over the last 180 days before filing this petition,
1 have lived in this district longer than in any
other district.

(3 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for Individuals Filing for Bankruptcy page 2
Debtor 1

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Misty

First Name

Nicole

Middle Neme

Wilburn

Last Name

Case number (if imown)

Tell the Court About Your Bankruptcy Case

T.

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy

11.

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 104

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptey (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

\ Chapter 7

(J Chapter 11
LY Chapter 12
QQ Chapter 13

C} 1 will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about haw you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

4] I need to pay the fee in installments. if you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Instailments (Official Form 103A).

Cd | request that my fee be waived (You may requesi this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do se only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application fo Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

i No
LI Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DDSYYYY
District When Case number
MM / DD IYYYY
ii No
CY Yes. Debtor Relationship to you
District When Case number, if known
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known,
MM /DD/YYYY
LI No. Go teline 12.
W@ Yes. Has your landlord obtained an eviction judgment against you?

4 No. Go to line #2.

L} Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 1 Misty _ Nicole Wilburn Case number urtroums

 

First Name Middle Name Last Name

Cy Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor {243 No. Go to Part 4.
of any full- or part-time
business? LU Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

fi rt i
ff or fon, partnership, or Number Suest

 

Name of business, if any

 

'f you have more than one
sole proprietorship, use a
separate sheet and altach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

L} Health Care Business (as defined in 11 U.S.C. § 101(27A)}
C} Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(4 Stockbroker (as defined in 11 U.S.C. § 101(53A))

( Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ None of the above

43. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11U.S.C. § 1116(1)(B).

r?
, debto .. CY No. | am not filing under Chapter 11.
For a definition of sraif
business debtor, see LJ No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

CJ Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own orhave any) = No
property that poses or is

 

alleged to pose a threat Ul Yes. Whatis the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed’?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Rebtor 4 Misty Nicole Wilburn Case mamber (i known)

First Name Middle Name

Last Name

veer Explain Your Efforts to Receive a Briefing About Credit Counseling

 

is. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

lf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 104

About Debtor 1:

You must check one:

bd 1 received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(] | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but 1 do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(J | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after |] made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

[J | am not required to receive a briefing about
credit counseling because of:

a) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CJ Active duty. | am currently on active military
duty in a military combat zane.

If you believe you are not required to receive 2
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case}:

You must check one:

J | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Q] I received a briefing from an approved credit
counseling agency within the 180 days before !
filed this bankruptcy petition, but i do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
pian, if any.

LJ | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-diay temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of +5
days.

(J | am not required to receive a briefing about
credit counseling because of:

U3 Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances,

Q Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after |
reasonably tried to do so.

C} Active duty. | am currently on active military
duty in a military combat zone.

Hf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5
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Debtor 1 Misty

Nicole

First Name Middle Name.

Wilburn

Last Name

Case number orkrow)

Eo Answer These Questions for Reporting Purposes

 

16. What kind of debis do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Sign Below

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose."

CI No. Go te line 16b.
@ Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

Q) No. Go to line 16c.
LI Yes. Go to line 17.

16c, State the type of debts you owe that are not consumer debts or business debis.

 

(J No. | am not filing under Chapter 7. Go to line 48.

 Yes.1am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

i No
L Yes

1-49

C4 50-99
LJ 100-199
CJ 200-999

WZ 50-$50,000

LJ $50,001-$400,000
LJ $100,001-$500,000
C) $500,001-$1 million

i $0-$50,000

(J $50,001-$100,000
CJ $100,001-$500,000
£9 $500,001-$1 million

CI 1,000-5,000
(3 § 901-10,000
LJ 10,001-25,000

CY $1,000,001-$10 million

C) $10,000,001-$50 million
(1 $50,000,001-$100 million
(J $400,000,061-$500 million

CY $1,000,001-$10 million

LI $10,000,001-$50 million
LJ $50,000,001-$100 million
LF $100,000,001-$500 million

CJ 25,001-50,000
L} §0,001-100,000
LJ More than 100,000

() $500,000,001-$1 billion

L] $4,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
LJ More than $50 billion

LY $500,000,001-$1 billion

C3 $1,000,000,001-$10 billion
CL} $10,000,000,001-$50 billion
£) More than $50 billion

 

For you

Official Form 101

{ have examined this petition, and 1 declare under penalty of perjury that the information provided is true and

correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
af title 41, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

if no attomey represents me and | did not pay or agree to pay someone who is not an aitomey to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

i understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

X /s/ Misty Wilburn VAL, reeerien:

 

Signature of Debtor 1

Executed on 11/02/2018

 

Signature of Debtor 2

Executed on
MM / DD /YYYY

/ BD /YYY’

MM

Voluntary Petition for individuals Filing for Bankruptcy

page 6
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Debtor 4 Misty Nicole Wilburn Case number ¢tsowy

 

First Name Middie Name Laet Narne

: |, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
For your attomey, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. i also certify that 1 have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not

 

need to file this page.
pas X /s/ Thomas Rothe Date 41/02/2018
Signature of Attomey for Debtor MM / DD /YYYY
Thomas Rothe
Printed name

 

Thomas Rothe, attorney at law

 

 

 

 

 

 

Firm name

713 E. 54th Street

Number Street

indianapolis IN 46220

City State ZIP Code

Contact phone (317) 726-0900 Email address athomasrothe@indy.rr.com
16848-49 iN

Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Fill in this information to identify your case:

Debtor 4 Misty Nicloe Wilburn

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptey Court for fhe: Southern District of indiana

 

Case number LJ Check if this is an
(if known) amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 125

 

 

Be as complote and accurate as possibie. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

a Summarize Your Assets

Your assets
Value of what you own

4. Schedule A/B: Property (Official Form 106A/B)

 

1a. Copy fine 55, Total real estate, fram Schedule AB... cece sees ceeneneeenenscttee renee rcenencasecsneaneneanenetnensasesecanenenans $ ______8.00
1b. Copy line 62, Total personal property, from Schedule A/B cee esecce ee ec ee eeee neers near ernereretee tener ancnenineneanariaeeaeeaagegstes $ 13,520.00
1c. Copy line 63, Total of all property on Schedule A/B oi. eects cee eereeeeceenenenne nance rtaneneeenaenenae ne renmssanecasaanag as ce seas $ 43,520.00

 

 

 

Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
za. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........

s 11,000.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

0.00
3a. Copy the total claims from Part 4 (pricrity unsecured claims) from line Ge of Schedule EVP... secs ee S___._“ane

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedute ELF occ c ca ccenseeeeeeecttnen sete eeeee + § 27,804.00

 

 

 

 

 

Your total liabilities $ 38,804.00
Summarize Your Income and Expenses
4. Schedule t Your income (Official Form 1061)
$ 2,083.00
Copy your combined monthly income from line 12 Of Schedule 1... cesses cette tee cence eens cennenencenstneteneneiteneateneneateneanenecens Te
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22¢ of Schedule J... ec eee tere ee cence ee eeetee eee ee cere eeneneneee neers tencnanananeceeaees $ ____ 2,083.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2
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Debtor 1 Misty Nicloe Wilburn Case number tittnen

 

First Name Middle Name Last Name

Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

0) No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Wi Yes

7. What kind of debt do you have?

64 Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

family, or household purpose.” 44 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

LJ Your debts are not primarily consumer debts. You have nathing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official

 

 

 

 

 

 

 

Form 1224-1 Line +1; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 2,606.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule EF.
Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.} 3 0.00
9d. Student ioans. (Copy line 6f,) $ 0.00
$e. Obligations arising out of a separation agreement or divorce that you did not report as 5 0.00
priority claims. (Copy line 6g.}
8f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +3 0.00
9g. Tatal. Add lines 9a through 9f. $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Cortain Statistical Information page 2 of 2

 
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Fill in this information to identify your case and this filing:

Debtor 1 Misty Nicote Wilburn

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing} First Name Middic Name Last Name

 

United States Bankrupicy Court for the: Southern District of Indiana

Case number

 

LJ Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

in each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

REE vescrive Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

WA No. Go to Part 2.
(3 Yes. Where is the property?

What is the property? Check all that apply. De not deduct secured claims or exemptions. Put

Cl} Single-family home the amount of any secured claims on Schedule 0:

TA. Creditors Who Have Claims Secured by Property.

a Duplex or multi-unit building

 

Street address, if available, or other description

 

 

 

LY Condominium or cooperative Current value ofthe Current value of the
(3 Manufactured or mobife home entire property? portion you own?
CJ Land $ $
LJ Investment property
- UI Timeshare Describe the nature of your ownership
City State ZIP Code Q) other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

LI} Debtor 4 only

County LI Debtor 2 oniy

14 Debtor 1 and Debtor 2 only Oi Check if this is community property
(see instructions)

 

 

LJ At least one of ihe debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

if you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

Ci Single-family home the amount of any secured claims on Schedule D-

1.2. Creditors Who Have Claims Secured by Property.

(4 Duplex er multi-unit building

 

Street address, if avaifable, or other description

 

 

 

 

 

 

QI Condominium or cooperative Current value of the Current value of the
(I Manufactured or mobile home entire property? portion you own?
C] Land $ $
LJ investment property h
: Describe the nature of your ownership
City Stata ZIP Code U) Timeshare interest {such as fee simple, tenancy by
LY other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
(4 Debtor 7 only
County C¥ Debtor 2 only
C) Debtor 1 and Debtor 2 only (3 check if this is community property
(1 At teast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Misty Nicole Wilburn Case number (if kiown),
First Name Middle Name Last Name
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
i -fami the amount of any secured claims on Schedule D:
1.3. Wl Single-family home Creditors Who Have Claims Secured by Property.
Street address, if available, or other description Q Duplex or multi-unit building
© condominium or cooperative Current value of the Current value of the
. entire property? portion you own?
LJ Manufactured or mobile home
U tana $ 4%
CY investment property [ hi
5 : Describe the nature of your ownership
c State ZIP Cod .
@ OI Timeshare interest (such as fee simple, tenancy by
CJ other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
- L) Debior 1 onty
ounty LJ Debtor 2 only
{J Debior 1 and Debtor 2 only CJ Check if this is community property
1] At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as iocal
property identification number:
2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that number here, ...........0..ccccccscecceesccsccueresecsseeces ceeseeeseneceasesserscanenseensesenees >

Describe Your Vehicles

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Li Ne
F Yes
a4. Make: Honda
Model: CRV
Year: 2010
415000

Approximate mileage:

Other information:

tf you own er have more than one, describe here:

3.2. Make:
Madel:
Year:
Approximate mileage:

Other information:

Official Form 106A/B

Who has an interest in the property? Check one.
4 Debior 1 only

C} Debtor 2 only

C} Debtor 1 and Debtor 2 only

LI At teast one of the debtors and another

C) Check if this is community property (see
instructions}

Who has an interest in the property? Check one.
Q Debtor 1 only

(J Debtor 2 only

CQ Bebtor 1 and Debtor 2 only

C} At least one of the debiors and another

CE Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 8,000.00 5 0.00

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule QD:
Creditors Who Have Claims Secured by Property,

Current value of the Current value of the
entire property? portion you own?

page 2
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Debtor 4 Misty Nicole Wilburn Case number (if known),
First Name Middte Name Last Name

3.3, Make: Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put

~ oO the amount of any secured claims on Schedule D:
Model: Debtor 1 only Creditors Who Have Claims Secured by Praperty.

¥ L) Debtor 2 only c th

ear: —______ Current value of the Current value of the

U1 Debtor 1 and Debtor 2 only entire property? portion you own?

Approximate mileage: C) at least one of the debtors and another

Other information:

 

 

L} Check if this is community property (see 5 5
instructions)
3.4. Make: Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
“ Tc} the amount of any secured claims on Schedule D:
Modei: Debtor 1 only Creditors Who Have Claims Secured by Property.
1) Debtor 2 only
Year. (J bebtor t and Debtor 2 only Current value ofthe Current value of the
i ; . entire pro ? portion you own?
Approximate miteage. CY atieast one of the debtors and another property
Other information:
CL} Check if this is community property (see $ $
insiructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

WI No

CL} Yes
441. Make: Who has an interest in the property? Check one. 9 not deduct secured claims or exemptions. Put
(1 Debtor 4 oni the amount of any secured claims on Schedule D-
Model: ‘or 1 only Creditors Who Have Claims Secured by Property.
¥ L} Debtor 2 only
ear:

Q) Debior 1 and Debior 2 only Current value of the Current value of the

 

 

 

Other information: L) At least one of the debtors and another entire property? portion you own?
CJ Check if this is community property (see § $
instructions)
if you own or have more than one. list here:
42. Make: Who has an interest in the property? Check one. Do not deduct secured claims or exernptions. Put
[9 Debtor 4 ont the amount of any secured ciaims on Schedule D:
Modet: ebtor | only Creditors Who Have Claims Secured by Property.
¥ CL) Debtor 2 only C tue of th
ear: Current value of the Current value of the
Other inf lion: £} debtor 1 and Debtor 2 only entire property? portion you own?
er Inormayore. (J At least one of the debtors and another
gO tgahie = . $ $
Check if this is community property (see
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages is 8,000.00
you have attached for Part 2. Write that mumbor Were occ cece ceeeeccscseeesereeessesereesereteneeseseneenteteeessenee tenses SP

 

 

 

Official Form 106A/B Schedule A/B: Property page 3
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Debtor 1 Misty Nicole Wilburn Case number (iF known),

 

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First Name Middle Name Last Name

ee Describe Your Personal and Household items

Do you own or have any legal or equitabie interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, finens, china, kitchenware
CJ No
Sl Yes. Describe......... basic household goods

7, Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

0) No
Wl Yes. Describe......... tv and other electronics

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
441 No

Li Yes. Describe..........

9. Equipment for sports and hobbies

Exampies: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

No
Q) Yes. Describe. .........

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

bd No
C1 Yes. Deseribe..........

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
C) No
afl Yes. Describe.......... basic clothes
12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
4d No

Ci Yes. Describe...........

13. Non-farm animals
Examples: Dogs, cais, birds, horses

bA No
C) Yes. Describe...........

14 Any other personal and household items you did not already list, including any health aids you did not list

LA No
LI] Yes. Give specific
information. ..............

+5. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that mumber Were ccc ccssccsseccesseececsanseceescussseevessecnensesessaunaeecensessenatisnesnantesnenminsesanarseceneesess esseeeeeee >

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do net deduct secured claims
or exemptions.

$ 4,500.00

§ 400.00

$ 100.00

 

 

gs 2,000.00.

 

page 4

 
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Debtor 1 Misty Nicole Wilburn Case number (if known)

 

First Name Middle Name Last Name

| pore 4: Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

18.Gash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

Current value of the
portion you own?

De not deduct secured claims
or exemptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C) No
id MVS ieee ceecccecceccccceceseeseeceesate cer svansaesaeusessecsuvaecaesusacsssseesseceegersececaeessesseaesessessessesseesesacsaceeesesesieeescieeseener soe: CASI. cooccccccccccceceeeee § 10.00
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
C3 No
RA Yes on eee Institution name:
17.1. Checking account: $
47.2. Checking account: 3.
17.3. Savings account: $
17.4. Savings account: 3
17.5. Certificates of deposit: $
17.6. Other financial account: _prepaid card $ 10.00
77.7. Other financial account: $
17.8. Other financial account: $
17.8. Other financial account: %
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
WJ No
CY Yes. Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
i No Name of entity: % of ownership:
0 Yes. Give specific 0% o% $
information about OY
INET eee o %
0% ,
Official Form 106A/B Schedule A/B: Property page 6
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Debtor 1 Misty Nicole Witbum Case number uf Anown),

First Name Middle Name Last Name

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Wi No

L] Yes. Give specific —_ssuer name:
information about

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

tL] No
LJ Yes. List each
account separately. Type of account: Institution name:
407(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account PERF $ 2,500.00
Keogh: 3
Additional account: $
Additional account: $
22, Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Exampies: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

LA No

GD YES ecsecccsnsessenee Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rentat unit $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: 5

23, Annuities (A contract for a periodic payment of money to you, either for life or for a number of years}
WW No
(DO Yes... Issuer name and description:
&
3

 

Official Form t06A/B Schedule A/S: Property page 6
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Debtor 1 Misty Nicole Wilburn Case number tfiaawn)

First Name Middle Name Last Name

 

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

W No

6S erent Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

WI No

LC] Yes. Give specific
information about them... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Exampies: internet domain names, websites, proceeds from royaities and licensing agreements

WI No

LI Yes. Give specific
information about them.... $.

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

WI No

iL] Yes. Give specific
information about them... $

Money or property owed to you? Current value of the
portion you own?
Da nat deduct secured
ciaims or exemptions.

28. Tax refunds owed to you

i] No

Yes. Give specific information : 800.00
. Federak: :
about them, including whether possible tax refund for 2018 era $Y
you aiready filed the returns State: $ 200.00
and the tax years. 00.0... Local
Ocal:

29. Family support .
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

0 No

Ud Yes. Give specific information..............

Alimony: §
Maintenance: $
Support: $
Divorce settlement: $
Property settement: $.
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
¥I No
(J yes. Give specific information............... ;

Official Form 106A/B Schedule A/B: Property page 7
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Debtor 1 M isty Nicole Wilburn Case number (i known)

First Name Middle Name Last Name

 

 

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

WJ No

J) Yes. Name the insurance company

. oN Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

32. Any interest in property that is due you from someone who has died

lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

Wi No

LJ Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Wi No

CL} Yes. Describe each claim.

34. Other contingent and unliquidated claims of every nature, including counterciaims of the debtor and rights
to set off claims

i No

(J Yes. Describe each claim...

35. Any financial assets you did not already list

C3 No

C1 Yes. Give specific information...........

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 3520.00
for Part 4. Write that number here .......0 ccs tecnerebeasgegnscteeeecseseess cece danee sac casgassnsaeeseaneasaeeatenereneecaeeesecarsaeeceseeseesaagetansanses > Lo eee

 

 

 

EEE veserine Any Business-Related Property You Own or Have an interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
4 No. Go to Part 6.
L} Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.
38. Accounts receivable or commissions you already earned
LY No
LJ Yes. Describe.......
$

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, teephones, desks, chairs, electronic devices

L] No
2] Yes. Describe.......

Official Form 106A/B Schedule A/B: Property page 8
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Debior 1 Misty Nicole Wilburn Case number (if anown)
First Name Middle Name Last Name

 

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

CL) No

( Yes. Describe....... g
41. inventory

Ql Ne

L} Yes. Describe....... $s

42.1interests in partnerships or joint ventures

[} No
CL) Yes. Deseribe......

 

 

Name of entity: % of ownership:
OR $
Ys 5
% $

 

43. Customer fists, mailing lists, or other compilations
QC) No
Q] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

LY No
(3 Yes. Describe. .......

44. Any business-related property you did not already list
OJ No

C] Yes. Give specific
information .........

 

 

 

 

 

wt 6h Sf 8 tf A

 

 

4§. Add the doliar value of alt of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmiand, list it in Part 1.

 

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Gd No. Go to Part 7.
C) Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
tl No
CY) VES oes:
3

Offtcial Form 106A/B Scheduie A/B: Property page 9
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Debtor 1 Misty Nicole Wilburn Case number df knawn),

 

 

First Name Middle Name Last Name

48. Crops—either growing or harvested

LI No
(1 Yes. Give specific

information. ............ §

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

LJ No

50. Farm and fishing supplies, chemicals, and feed

Ci No
CD ¥e8 oo eecesecsnee

54. Any farm- and commercial fishing-related property you did not already list
LJ No

L) Yes. Give specific
information. ............ $

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here ............05. copssevessensesscsspussnvensustesesestessssavasuniissesceassesestssasanevarssssessesotastiunsiinuitsseseesersstestsenneee >

 

0.00

 

Describe All Property You Own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Wi No

L] Yes. Give specific
information. ............

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here |... ccpeteseeseneeetenseaee >

0.00

 

List the Totals of Each Part of this Form

 

55. Part 1: Total real estate, line 2.000. pecescesese ccosvuecsuvanunsesuensssatesiauesasuvarauessinuessnvivasssietenvectsuessesseeesnsseeneeess > §$
46. Part 2: Total vehicles, line 5 $. 8,000.00
57.Part 3: Total personal and household items, line 15 $ 2,000.00
58. Part 4: Total financial assots, line 36 $ 3,520.00
59. Part 5: Total business-related property, fine 45 $ 0.00
60. Part 6: Tota! farm- and fishing-related property, line 52 $ 0.00

61. Part 7: Total other property not listed, line 54 +5 0.00

62. Total personal property. Add lines 56 through 61. ................. $ 13,520.00 Copy personal property tetal > +s

0.00

13,520.00

 

63. Total of all property on Schedule A/B. Add line 55 + lIm@ G2... ec ete eee caenencen seseanenreneereceeeeecdtenge te sseesananes $

 

13,520.00

 

Officiat Form 1064/6 Schedule A/B: Property

page 10

 

 

 
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Fill in this information to identify your case:

Debtor 4 Misty Nicole Wilburn

First Name. Middfe Name Last Name

 

Debtor 2
(Spouse, if fling) First Name Middle Name Last Nama

 

United States Bankruptcy Court for the: Southern District of indiana

Case number U Check if this is an
known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/6

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/8: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. {f more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if knowni.

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Afternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse Is filing with you.

wf You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3)
LJ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check onfy one box for each exemption.
Schedule A/B
Brief 24-55-40-
description, 2010 Honda CRV $0.00 Ws 0.00 55-10-2a2
Line from C} 100% of fair market value, up to
Schedule 4B: 93.1 any applicable statutory limit
Brief
description:  Householdgoods _—s_ § 1,500.00 is 1,500.00 34-55-10-2a2
Line from bs LL) 400% of fair market value, up to
Schedule AB: any applicadle statutory limit
Pret electronic 400.00 Wis 400.00 34-55-10-2a2
description: $40U. $ :
Line from Cl) 100% of fair market value, up to
Schedule A/B: b7 any applicabie statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

Wi No

C) Yes. Did you acquire the property covered by the exemption within 1,215 days before yau filed this case?
CI No
L} Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of ___
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Debior 1 Misty

Nicoie

Wilburn

 

First Name

Middle Name

ea Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:
Line from
Schedule A/B:
Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule AB:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:
Line from
Schedule A/S:
Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Official Form 106C

Last Name

Current value of the
portion you own

Copy the value from

Case number (enon),

Amount of the exemption you claim

Check only one box for each exemption

 

L] 100% of fair market value, up to
any applicable statutory limit

 

 

C) 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to
any applicable statutory limit

 

wi 100% of fair market value, up to
any applicable statutory limit

 

L} 100% of fair market value, up to

 

 

©] 100% of fair market value, up to

 

C1 100% of fair market value, up te

 

100% of fair market value, up to

 

 

L} 100% of fair market value, up to

 

 

L] 100% of fair market value, up to

 

L) 100% of fair market value, up to

Schedule 4/0
clothes $ 100.00 Ws 100.00
bi4
cash $ 10.00 ds 70.00
b16
prepaid card $ 10.00 Ws 10.00
biz
PERF 5 2,500.00 Os
B21
tax refund $ 1,000.00 wg 380.00
—_—_ any applicable statutory limit
$ Lis
— any applicable statutory limit
§ Cs
——— any applicable statutory limit
$ Us
any applicable statutory limit
$ Os
———_ any applicable statutory limit
$ Lis
— any applicable statutory limit
$ Ls
any applicable statutory limit
3 Lig

 

 

CY 100% of fair market value, up to
any applicable statutary timit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

34-55-10-2a2

 

34-55-10-2a3

 

34-55-10-2a3

 

34-55-10-2A6

 

34-55-10-2a3

 

 

 

 

 

 

 

 

page 2 of
Case 18-08411-JMC-7A Doc1 Filed 11/02/18

Fill in this information to identify your case:

Wilburn

Last Name

Nicole

Middle Name

Misty

First Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Southern District of Indiana

Case number
{If known}

 

 

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

EOD 11/02/18 16:06:50 Pg 22 of 35

L] Check if this is an
amended filing

42/15

Be as complete and accurate as possible. Hf two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

C No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

wi Yes. Fill in ail of the information below.

in List All Secured Claims

 

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately amount of claim

for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor's name.

Describe the property that secures the claim:

Automotive Credit Corp

Creditor’s Name

 

 

 

 

P.O, Box 2203 2010 Honda CRV
Number Street
As of the date you file, the claim is: Check ail that apply.
QO Contingent
Southfield MI 48037  () Unliquidated
City State ZIP Code C} Disputed

Who owes the debt? Check one.

i Debtor t only

C} Debtor 2 only

{) Debtor 1 and Debtor 2 only

LJ Atleast one of the debtors and another

Nature of lien. Check alf that appiy.

car loan)
2 Statutory lien (such as tax lien, mechanic’s lien}
Qj Judgment lien from a fawsuit

(1 Other (including a right to offset)
L} Check if this claim relates to a

community debt
Date debt was incurred

{2.2}

Crediior's Name

Last 4 digits of account number

Describe the property that secures the claim:

 

 

 

 

Number Street
As of the date you file, the claim is: Check ail that apply.
(4 contingent
CD unliquidated

City State ZIP Code Disputed

wf An agreement you made (such as mortgage or secured

Colunin A Column B Colurnn C

Value of collateral Unsecured
Do not deduct the that supports this portion
value of collateral. claim if any

s 11,000.00 , 8,000.00, 3,000.00

 

Who owes the debt? Check one.

CJ Debtor 1 only

LJ Debtor 2 only

13 Debtor ¢ and Debtor 2 only

(J At least one of the debtors and another

O) Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:

Official Form 106D

Schedule D: Creditors Who Have Ciaims Secured by Property

Nature of lien. Check all that apply.

O) an agreement you made (such as mortgage cr secured
car oan)

O Statutory lien (such as tax lien, mechanic’s lien)

O Judgment lien from a lawsuit

(2) Other (including a right to offset)

Last 4 digits of account number ___

a

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Fill in this information to identify your case:

 

Misty

First Name

Wilburn

Last Name

Nicole

Middle Name

Debior 1

 

Debtor 2
(Spouse, if filing) First Name

 

Middie Name Last Name

United Siates Bankrupicy Court for the: Southern District of indiana

UL] Check #f this is an

Case number amended filing

df known)

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible, Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

12/16

 

List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?

id No. Go to Part 2.
Ld Yes.

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. Ifa claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. !f you have more than two priority
unsecured claims, filf out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

2.4

 

 

 

Priority Creditor’s Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

CY Debtor + only

(2 Debtor 2 only

(2 Debtor 4 and Debtor 2 only

LJ At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

L} No
i Yes

p |

 

Priority Creditor's Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

QI Debtor 1 oniy

(J Debtor 2 only

C1 Debtor 1 and Debtor 2 oniy

CY At least one of the debtors and another

LQ Check if this claim is fora community debt

Is the claim subject to offset?

CI No
Cy ves

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Nonpricrity
amount

Tota! claim Priority

amount

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check al} that apply.
QO Contingent

LJ Unliguidated

CJ Disputed

Type of PRIORITY unsecured claim:
OC) Domestic support obligations
Q) Taxes and certain other debts you owe the government

L) Claims for death or personal injury while you were
intoxicated

(] other. Specify

 

Last 4 digits of accountnumber ag 5 $.

When was the debt incurred?

As of the date you file, the claim is: Check al! that apply.
QO Contingent

0) Unliquidated

U Disputed

Type of PRIORITY unsecured claim:
() Domestic support obligations
(1 Taxes and certain other debts you owe the government

(2 Ciaims for death or personal injury white you were
intoxicated

C3 other. Specify

 

page 1of_
Case 18-08411-JMC-7A Doc1 Filed 11/02/18 EOD 11/02/18 16:06:50 Pg 24 of 35

Debior 1 Misty Nicole Witburn

 

First Name Middle Name Last Name

List All of Your NONPRIORITY Unsecured Claims

Case number (known)

 

3. Do any creditors have nonpriority unsecured claims against you?

No. You have nothing to report in this part. Submit this form to the court with your other schedules.

4 Yes

4. List alf of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. !f more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

Claims fill out the Continuation Page of Part 2.

Brighthouse

 

Nonprionty Creditors Name

3030 Roosevelt Ave

 

 

Number Street
indianapolis iN 46218
City State ZIP Code

Who incurred the debt? Check one.

“i Debtor 1 only

LJ Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J Atleast one of the debtars and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

WA no
LI Yes

Community Health Network

 

Nonpriority Creditors Name

 

 

1500 N. Ritter

Number Street

Indianapolis IN 46219
City State ZIP Code

Who incurred the debt? Check one.

w Debtor 1 only

LI Debtor 2 only

U1 Debdter 1 and Debtor 2 only

C} Atleast one of the debtors and another

C} Check if this claim is fora community debt

Is the claim subject to offset?

4 ne
(2) Yes

ke | Community Physicians Network

 

Nonprionty Creditors Name

 

 

1500 N. Ritter

Number Street

Indianapolis IN 46219
City State ZIP Code

Who incurred the debt? Check one.

(A Debtor 1 only

QJ Debtor 2 only

C) Debtor 1 and Debtor 2 ony

LJ Atieast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

a No
C] ves

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Totat claim

Last 4 digits of account number 3 oO 8 0 $ 418.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a Contingent
C] unliquidated

LJ Disputed

Type of NONPRIORITY unsecured claim:

LJ Student loans

| Obligations arising out of a separation agreement or divorce
thai you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

Gd other. Specity cable

Last 4 digits of account number 0 3 7 6 $ 16,366.00

When was the debi incurred?

As of the date you file, the claim is: Check all that apply.

{1 contingent
CU] Untiquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

C} Student leans

(2 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

LI Debts to pension or profit-sharing plans, and other similar debts
id Other. Specity_ Medical

Last 4 digits of accountnumber 8B 7 1 _ 7 5 526.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

LJ Contingent
LJ Unliquidated
© Disputed

Type of NONPRIORITY unsecured claim:

CJ Student joans

O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

QO) Debts to pension or profit-sharing plans, and other similar debts

GW Other. Specity_medical

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Debtor 1 Misty Nicole

 

First Name Middle Name Last Nante

Case number (7 keown),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

 

 

 

 

 

 

 

 

 

 

 

Direct TV Last 4 digits of account number 8 3.0 (1 gs 512.00
Nonpriority Creditors Name
When was the debt incurred?
P.O. Box 915
Number Street
file, the claim is: Check all that apply.
Fl Segundo CA 90245 As of the date you file, the claim is pply
City State ZIP Cada C3 Contingent
a} Untiquidated
Who incurred the debt? Check one. 7 Disputed
| Debtor 1 only
Q Debtor 2 only Type of NONPRIORITY unsecured claim:
(CU Debtor 1 and Debtor 2 only (2 Student toans
Cy Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
cant oe . you did not report as priority claims
CI Check if this claim és for a community debt LJ Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? if other. Specify video
if No
OO ves
LI “Aesical Aecee . 7 |
IMC Credit/Medical Associates Last 4 digits of account number O 3 7 6) ¢_ 1,813.00
Nonpriority Creditors Name
. When was the debt incurred?
1500 N. Ritter
Number Street
. . As of the date you file, the ciaim is: Check all that apply.
Indianapolis IN 46219 @ date you fi pply
City State ZIP Code go Contingent
. SJ untiquidated
Who incurred the debt? Check one. oO Disputed
CF Debtor 1 only
(3 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only OO Student loans
At least one of the debtors and another LJ Objigations arising out of a separation agreement or divorce that
(3 Check if this claim is for a community debt you did not report as priority claims
1 Debts to pension or profit-sharing plans, and other similar debts
ts the claim subject to offset? (2 other, Specify
ne
i Yes
: : : - Last 4 digits of account number 9 0 1 5 s__468.00
Irvington Radiotogists/Americollect 9 ss S
Nonpricrity Creditors Name
. When was the debt incurred?
1500 N. Ritter
Number Street
. . As of the date you file, the claim is: Check all that apply.
Indianapolis IN 46219 y ePly
City State ZIP Code (I Contingent
; G Untiquidated
Who incurred the debt? Check one. (2 disputed
L] Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
(J bebtor 1 and Debtor 2 only CQ Student ioans
U1 At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
taps teed . you did not report as priority claims
UI Check if this claim is for a community debt CJ Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? C) other. Specify
LJ No
CJ Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of _

 

 

 
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Debtor 1 Misty Nicole Wilburn

 

First Name Middle Name Last Name

Case number (snown),

port: Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

 

 

 

 

 

 

 

 

 

 

 

Auto Sales & Service/Cohen & Malad Last 4 digits of account number 2 2 4 9 s_7,706.00
Nonpriority Creditors Name
: When was the debt incurred?
One Indiana Square, #1400 enwas te cesrnicun
Number Street
: . f file, the claim is: Check all that .
Indianapolis IN 46204 As of the date you file, the claim i& eck all that apply
City State ZIP Code (2 Contingent
OO} unliquidated
Who incurred the debt? Check one. QQ Disputed
Ld Debtor 1 only
(J) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only CO Student Icans
At least one of the debtors an¢ another (1 Obligations arising out of a separation agreement or divorce that
C) Check éf this claim is for a community debt you did not report aS priority Claims
O} Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? bd other. Specify Tepo judgment
No
C] Yes
AFNI Last 4 digits of account number 3
Nonprionity Creditors Name
en was the debt incurred?
P.O. Box 3097 Wh he debt incurred?
Number Street
- As of the date you file, the claim is: Check all that apply.
Bloomington iL 61702 ¥
City State ZIP Code (2 contingent
CJ Uniiquidated
Who incurred the debt? Check one. Q pisputed
() Debtor ¢ only
CJ Debter 2 only Type of NONPRIORITY unsecured claim:
LJ Debtor 4 and Debtor 2 only O Student icans
LW) At least one of the debtors and another QO Obligations arising out of a separation agreement o7 divorcee that
oe gh: we . you did not report as priority claims
Ld Check if this claim is fora community debt (} Debts io pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? A Other. Specify Could be a duplicate
UL) Ne
LI ves
(_] 5
WayPoint Last 4 digits of accountnumber
Nonpricrity Creditors Name
PO. Box 8588 When was the debt incurred?
Number Street . a
As of the date you file, the claim is: Check all that apply.
Round Rock TX 78683 ¥
Cily State ZIP Code CI contingent
(A) uniiquidated
Who incurred the debt? Check one. oO Disputed
CJ Debtor 4 only
C) Debtor 2 onty Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only {Student loans
Cl Atieast one of the debtors and another (4 Obligations arising out of a separation agreement or divorce that
o£ ah: es pi you did not report as priority claims
LJ Check if this claim is for a community debt QO) Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? other. Specify_could be a duplicate
LI No
C} ¥es
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

 

 

 
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is

Debtor 1 Nicole

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Wilburn Case number {it newn}

 

First Name Middle Name Last Name

eS List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someane else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. Hf you do not have additiona! persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Marion County Clerk

 

Name

200 E. Washington Street

 

Number Street

 

Indianapolis IN 46204

 

City State ZIP Code

 

Name

 

Number Street

 

 

City State ZIP Code

 

Name

 

Number Street

 

 

City State ZiP Code

 

Name

 

Number Street

 

 

City State 21P Code

 

Name

 

Number Street

 

 

City State ZIP Code

 

Name

 

Number Street

 

 

City State ZiP Code

 

Name

 

Number Street

 

 

City State ZIP Gade

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one). LI Part 1: Creditors with Priority Unsecured Claims
wf Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): (3 Part 1: Creditors with Priority Unsecured Claims

LF Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line af (Check one): LJ Part 1: Creditors with Priority Unsecured Claims

1 Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): CO) Part 1: Creditors with Priority Unsecured Claims

C) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): LJ] Part 4: Creditors with Priority Unsecured Claims

LJ Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 4 or Part 2 did you list the original creditor?

Line of (Check one): 2 Part 1: Creditors with Priority Unsecured Ciaims

(3 Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
QO) Part 2: Creditors with Nonpriocrity Unsecured

Claims

Last 4 digits of account number |

Official Form 1G6E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
Case 18-08411-JMC-7A Doc1 Filed 11/02/18 EOD 11/02/18 16:06:50 Pg 28 of 35

Fill in this information to identify your case:

Debtor Misty Nicole Wilburn

First Name Middle Name Last Name

 

Bebtor 2

{Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of indiana

C be euen
‘teow i Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

 

Be as complete and accurate as possible. If two married pecple are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Bo you have any executory contracts or unexpired leases?
4 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CJ Yes. Fill in ail of the information below even if the contracts or feases are listed on Schedule A/B. Property (Officiat Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicie lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or jease State what the contract or fease is for

2.1

 

Name

 

Number Street

 

City State 2IP Code

2.2

 

Name

 

Number Street

 

City State 2IP Cade
2.3

 

Name

 

Number Street

 

City State ZIP Code
24

 

Name

 

Number Street

 

City State ZIP Code
2.5

 

Name

 

Number Street

 

City Siate ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page tof
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Fill in this information to identify your case:

Debtor t Misty Nicole Wilburn

Fast Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name

 

Last Name
United States Bankruptcy Court for the: Southern District of Indiana

Case number
{lf known)

 

 

LJ Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. Cn the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

Wi No
Li ves
. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
wi No. Go to line 3.
( Yes. Did your spouse, former spouse, or /egal equivalent live with you at the time?
L) No

LJ Yes. In which community state or territory did you live? - Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivaient

 

Number Street

 

City State ZIP Cade

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in ling 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule B (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Cafumn 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

faa
eas

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CL} Schedule D, line
Name
J Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code
Ci Schedule D, line
Name
QC} Schedule E/F, line
Number Street CJ Schedule G, line
City State ZiP Code
a3
{} Schedule D, line
Name —_—,
€] Schedule E/F, line
Nurnber Street LJ Schedule G, line
City Stale ZIP Code
Official Form 106H Schedule H: Your Codebtors

page 1of_
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Fill in this information to identify your case:

Debtor 4 Misty Nicole

Wilburn

 

First Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middle Name

Last Name

United States Bankruptcy Court for the: Southern District of Indiana

Case number

 

{lf knawn)

 

 

Official Form 1061

 

Schedule I: Your Income

EOD 11/02/18 16:06:50

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Check if this is:
LJ An amended filing

Qa supplement showing postpetition chapter 13
income as of the following date:

MM / DD? YYYY

1215

 

Be as complete and accurate as possible. If two married people are fillng together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is rot filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number {if known). Answer every question.

| Part +: | Describe Employment

1. Fillin your employment
information.

lf you have more than one job,
attach a separate page with
information about additional
employers.

Employment status

Include part-time, seasonal, or
self-employed work.

Occupation
Occupation may include student P
or homemaker, if it applies.

Employer's name

Employer's address

Debtor 1

wi Employed
LI Not empioyed

State Eligibility Consuitant

Indiana Family Social Services

3826 Madison Avenue

Debtor 2 or non-filing spouse

L} Employed
LI Not employed

 

 

 

 

Number Street Number Street

indianapclis IN 46227

City State ZIP Code City State ZiP Code
2 i/2 years

How long employed there? 2 1/2 years

| Part 2: | Give Details About Monthly Income

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space. Include your non-filing

spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet fo this form.

For Debtor 1

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). if not paid monthly, calculate what the monthly wage would be. 2.

3. Estimate and list monthly overtime pay.

4. Caiculate gross income. Add line 2 + line 3.

Official Form 71061

3. +3

¢__2,606.00

For Debtor 2 or
non-filing spouse

 

4. | g 2,606.00

 

 

 

 

 

Schedule I: Your Income

page 1
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13.Do you expect an increase or decrease within the year after you file this form?

Wi No.

 

 

 

Debtor 4 Misty Nicole Wilburn Case number (ifknown),
Fitst Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy fime 4 ere cece cceseescesssecnsseneeseecsssesnesceesteneneiescseceseceesceseanes > 4. g__2,606,00 $
5. List all payroil deductions:
5a. Tax, Medicare, and Social Security deductions 5a 312.00 $
5b. Mandatory contributions for retirement plans 5b.  § 50.00 $
5c. Voluntary contributions for retirement plans 5c. $ 3
Sd. Required repayments of retirement fund loans Sd. § $
5e. Insurance fe $ 167.00 $
5f. Domestic support obligations Sf § &
5g. Union dues 5g. 4 $
Sh. Other deductions. Specify: Sh. + +3
6. Add the payroll deductions. Add lines 5a+ 5b +5c+5d+5e+5f+5g+5h. 6. § 523.00 $
7. Calculate total monthly take-home pay. Subtract fine 6 from line 4. 7. 3 2,083.00 §
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipis, ordinary and necessary business expenses, and the totai $ $
monthly net income. 8a.
8b. Interest and dividends &b. § $
8c. Family support payments that you, a non-filing spouse, or a dependent
reguiarly receive
Include alimony, spousal support, child support, maintenance, divarce $ $
settlement, and property settlement. &c.
8d. Unemployment compensation 8d. § $
8e. Social Security 8e. § $
&f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: af. 864 $
8g. Pension or retirement income 8g. $ §
8h, Other monthly income. Specify: 8h. +3 +g
9. Add all other income. Add lines 8a + 8b + 8c + 8d + Se + Bf +8g + Bh. 9. | 3 0.00 $
10. Calculate monthly income. Add line 7 + line 9. ; 5 2,083.00 | + $ = \s 2,083.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 40. ——-
11. State afl other reguiar contributions to the expenses that you list in Schedule J.
Include contributions from an unmartied partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already inciuded in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: i1.+ §
12. Add the amount in the last cotumn of jine 10 to the amount in Hne 11. The result is the combined monthly income. 2 083.00
Wiite that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies 12. OO
Combined

monthly income

 

L) Yes. Explain:

 

 

Official Form 106]

Schedule |: Your income

page 2

 

 

 
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Fill in this information to identify your case:

 

 

 

Debtor1 Misty Nicole Wilburn ue:

Fiest Name Middle Name [ast Name Check if this is:
Debtor 2 .
(Spouse, if filing) First Name Middle Name Last Name OQ An amended filing

LI A supple howi iti
United States Bankruptcy Court for the: Southern District of Indiana expenses ne ‘ the tolewine date n chapter 1S

Case number ee
(if krown)} MM / DDS YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

 

Part 1: Describe Your Household

 

1. Is this a joint case?

W No. Go to line 2.
L) Yes. Does Debtor 2 live in a separate household?

C] No
LJ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

2. Do you have dependents? CO] No
; Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and of Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... eee
Do not state the dependents’ son 16 U No
names. wf Yes
daughter 10 LU No
wi Yes
f No
OC) ves
C} Ne
Ld Yes
LI No
L) Yes
3. Do your expenses include O No

expenses of people other than
yourself and your dependents? C1 Yes

GEE Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 12 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedufe /: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. include first mortgage payments and § 745.00
any rent for the ground or lot. 4. —_—$< or

tf not included in line 4:

4a. Real estate taxes 4a,
4b. Properly, homeowner’s, or renter's insurance 4b. 3.
4c. Home maintenance, repair, and upkeep expenses 4c. 3
4d. Homeowner's association or condominium dues 4d. $

Official Form 106J Schedule J: Your Expenses page 1
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Debtor ¢ Misty Nicoie Wilburn

First Name: Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity ioans
6. Utilities:

1a.
+1.

42.

43.

14.

18.

18.

49.

20.

6a. Electricity, heat, natural gas

6b, Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify:

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in fines 4 or 20.

15a. Life Insurance
15b. Health insurance
1c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

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Case number (it known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule i Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

 

6b.

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13.

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15a.
t5b.
15c.

15d.

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20a.

20b.

20d.

20e.

 

 

Your expenses
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Debtar 1 Misty Nicole Wilburn Case number (i mown)
First Name Middle Name LastName
21, Other, Specify: 21. ¥$

 

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 2a g 2,083.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $
22c. Add line 22a and 22b. The result is your monthly expenses. 220, 5 2,083.00

23. Calculate your monthly net income,

 

2,083.00
23a. Copy line 12 (your combined monthly income) from Schedule L. 23a. $
23b. Copy your monthly expenses from line 22c above. 23b.  g 2,083.00
23c, Subtract your monthly expenses from your monthly income. 0.00
The result is your monthly net income. 23c. 9 eae ee

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

WH No.

Gi Yes. — Explain here:

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AUTEM Mela Lee COMA Sem et cio

Debtor 1 Misty Nicole Wilburn

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing} First Name Middle Name

 

United States Bankruptcy Court for the: Southern District of Indiana

Case number
(lf known),

 

 

LI Check if this is an

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 1218

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

if No

= Yes. Name of person, . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 149).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

Vi rp yee hs
X jg Misty witbury sist, LCL A

 

 

Signature of Debtor 7 Signature of Debtor 2
pate 11/02/2018 Date
MM; DD 7 YYYY MM/ OD s YYYY

Official Form 106Dec Dectaration About an Individual Debtor's Schedules
